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     AO 93 (Rev. 12/09) Search and Seizure Warrant (USA() CDCA Rev. 01/20E3)




                                           UNITED STATES DISTRICT COURT
                                                                          for the                                             ORIGINAL
                                                                Central District of California

                        In the Matter of the Search of
                   Welly describe the property to be searched
                   or identop the person by name and address)                        Case No. 2:18-MJ-02336
                       16734 Crenshaw Boulevard
                        Torrance, California 90504


                                                  SEARCH AND SEIZURE WARRANT
     To:       Any authorized law enforcement officer

              An application by a federal law enforcement officer or an attorney for the government requests the search
     of the following person or property located in the         Central           District of           California
     (identift the person or describe the properly to be searched and give its location):

           See Attachments A-1, A-2, and A-3

               The person or property to be searched, described above, is believed to conceal (identifr the person or describe the
     property to be seized):
           See Attachments B-1, B-2, and B-3


             I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
     property.

               YOU ARE COMMANDED to execute this warrant on or before                               14 days from the date of its issuance
                                                                                                                (not to exceed 14 days)
           0 in the daytime 6:00 a.m. to 10 p.m.                   i1 at any time in the day or night as I find reasonable cause has been
                                                                      established.

             Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
     taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
     place where the property was taken.
             The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
     inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
     on duty at the time of the return through a filing with the Clerk's Office.
                                      (name)

           0 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
     of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
     searched or seized (check the appropriate box) 0 for             days (not to exceed 30).
                                                            0 until, the facts justifying, the later specific date of


     Date and time issued:       ItF 0?                  .2 •75-n1
                                                                                                          .hage's signature


     City and state:       Los Angeles, CA                                                  Honorable Steve Kim, U.S. Magistrate Judge
                                                                                                        Printed name and title




AUSA: Catherine S. Ahn, x2424
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                                                                       Return
     Case No.:                              Date and time warrant executed:             Copy of warrant and inventory left with:
      2:18-MJ-02336                          q- 5.(R          Li .CUI-NA                  h._,-Anc, - \CQ._._
     Inventog made in the presence of:

     Inventory of the property taken and name of any person (iv) seized:
     [Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
     seized pursuant to the warrant (e.g., type of documents, as opposed to "miscellaneous documents") as well as the approximate
     volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
     number of pages to the attachment and any case number appearing thereon.]

        / Ce \\ \.,C\CC "VC 1.Q.VCC.)"\-CS

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                                                                    Certification    (by officer present during the execution of the warrant)


     I declare under penalty of perjwy that I am an officer who executed this warrant and that this inventory is correct and
     was returned along with the original warrant to the designated judge through a filing with the Clerk's Office.

                                                                                              .
                                                                                               ,
     Date:     q.(    o•
                                                                                              Executing officer's signature

                                                                           £5ç\ eCkk (AIN9...._q
                                                     •                                         Printed name and title




AUSA: Catherine S. Ahn, x2424
